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       Eric Bensamochan, Bar #255482
 1     The Bensamochan Law Firm
       30851 Agoura Rd # 114
 2     Agoura Hills, Ca 91301
       818-907-5866 (FAX) 818-461-5959
 3     ATTORNEY FOR PLAINTIFF

 4                                        UNITED STATES DISTRICT COURT
                                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 5

 6     J&J SPORTS PRODUCTIONS, INC                       )
                                                         )
 7                     Plaintiff,       vs.              )   Case No.: 5:10-CV-01881-WDK-FMOx
                                                         )
 8     NICHOLAS C. CANO, et al,                          )   RENEWAL OF JUDGMENT BY CLERK
                                                         )
 9                 Defendant,                            )
                                                         )
10
       Based upon the application for renewal of the judgment of the original judgment, and pursuant to
11
       F.R.C.P. 69(a) and C.C.P. §683.110 through §683.320, and for good cause appearing therefore,
12
          Judgment in favor of Plaintiff, J&J Sports Productions, Inc, and against Defendant, Nicholas C.
13
       Cano, an individual d/b/a Restaurante El Fortin, and Maria D. Castillo, an individual d/b/a
14
       Restaurante El Fortin, entered on February 6, 2012, be and the same is hereby renewed in the
15
       amounts as set forth below:
16
              Renewal of money judgment
17
                       a. Total judgment                               $     2,620.00
18
                       b. Costs after judgment                         $          0.00
19
                       c. Subtotal (add a and b)                       $     2,620.00
20
                       d. Credits                                      $          0.00
21
                       e. Subtotal (subtract d from c)                 $     2,620.00
22
                       f.   Interest after judgment(.13%)              $         33.48
23
                       g. Fee for filing renewal of application        $          0.00
24
                       h. Total renewed judgment (add e, f and g) $          2,653.48
25

26
       Dated: December 6, 2021                 CLERK, by Deputy _________________________
27                                             Kiry A. Gray,
                                               Clerk of U.S. District Court
28




                                               Renewal of Judgment
